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           Executive Grant of Clen1ency
TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:


         WHEREAS THEODORE E. SUHL, Reg. No. 30250-009, was convicted, in the United
States District Court for the Eastern District of Arkansas on an indictment (Docket No.
4:15CR00300-0l-BRW) of violations of Sections 2, 666(a)(2), 1342, and 1952, Title 18, United
States Code, for which a total sentence of 84 months ' imprisonment; three years' supervised
release; a two hundred thousand dollar ($200,000) fine ; and a special assessment of four hundred
dollars ($400) was imposed on October 27, 2016; and


         WHEREAS the said THEODORE E. SUHL, Reg. No. 30250-009, has been confined
continuously since he voluntarily surrendered to custody on January 2, 2017, and is presently
incarcerated at the minimuin--security satellite camp at United States Penitentiary - Marion in
Marion, Illinois; and


        WHEREAS it has been made to appear that the ends of justice do not require the said
THEODORE E. SUHL, Reg. No. 30250-009, to remain confined until his currently projected
release date of February 5, 2023, and the safety of the community will not be compromised ifhe
is released ;


        NOW, THEREFORE, BE IT KNOWN that I, DONALD J. TRUMP, President of the
United States of America, in consideration of the premises, divers other good and sufficient
reasons me thereunto moving, do hereby grant clemency to the said THEODORE E. SUHL,
Reg. No. 30250-009: I commute the prison sentence imposed upon the said THEODORE E.
SUHL, Reg. No. 30250-009, to time served and commute the entirety of the three-year term of
supervised release imposed upon him. I leave intact any unpaid remainder of the $200,000 fine
that has not yet been satisfied and all other components of the sentence.


        I HEREBY DESIGNATE, direct, and empower, the Acting Pardon Attorney, as my
representative, to deliver to the Bureau of Prisons, to the United States District Court for the
Eastern District of Arkansas, and to the said THEODORE K SUHL, Reg. No. 30250-009 , a
certified copy of this document as evidence of my action in order to carry into effect the terms of
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         I ALSO DIRECT the Bureau of Prisons, upon receipt of this warrant, to effect the
immediate release of the said THEODORE E. SUHL, Reg. No. 30250-009, with all possible
speed.


         IN TESTIMONY WHEREOF I have hereunto signed my name and caused the seal of
the Department of Justice to be affixed.


                                                    Done at the City of Washinfon in the
                                                    District of Columbia this _ ~th __ day of
                                                    _!~'! _in the Year of Our Lord Two
                                                    Thousand and Nineteen and of the
                                                    In    endence of the    ited States the T o
                                                    H     red and Forty- rth.




                                                                    President
